




No. 2--00--0906
 &nbsp;&nbsp;&nbsp;

_________________________________________________________________



IN THE



APPELLATE COURT OF ILLINOIS



SECOND DISTRICT

_________________________________________________________________



GARY McGEE AND CHRISTOPHER	)	Appeal from the Circuit Court

RICKARD,	)	of Lee County.

)	

Plaintiffs-Appellants,	)	

)

v. 	)	No. &nbsp;99--MR--45

)

DONALD SNYDER, LILA KOCHES,	)

and JAMES UTLEY,	)	Honorable

)	Tomas M. Magdich,

Defendants-Appellees.	)	Judge, Presiding.

_________________________________________________________________



Supplemental Opinion Upon Denial of Rehearing

JUSTICE GROMETER delivered the opinion of the court:

Plaintiffs, Gary McGee and Christopher Rickard, filed an action challenging the manner in which the Department of Corrections (DOC) calculated certain good-conduct credits to which they claim they are entitled. &nbsp;We resolved this issue in plaintiffs' favor, holding that they were entitled to have their sentences recalculated in accordance with a system that existed prior to &nbsp;February 1, 1978. &nbsp;Under this earlier system, prisoners could earn up to nine months of compensatory and statutory good-conduct credits per year following their fifth year of incarceration. &nbsp;In 1978, the day-for-day system was adopted, which allowed for the accrual of six months of good-conduct credits per year. &nbsp;We concluded that the application of the post-1978 system to plaintiffs constituted a potential 
ex post facto
 violation. &nbsp;Thus, we ordered that their sentences be recalculated using both the post-1978 system and the pre-1978 system and that they receive the benefit of the most favorable system.

Defendants have filed a petition for rehearing. &nbsp;Defendants now assert that a third system for calculating good-conduct credits applied to plaintiffs. &nbsp;This system was in effect from June 1, 1977, until February 1, 1978. &nbsp;We will refer to this system as the intermediate system. &nbsp;According to defendants, plaintiffs never were eligible for the pre-1978 system. &nbsp;Thus, they contend, for the purpose of determining whether an 
ex post facto
 violation occurred, the proper comparison is between the intermediate system and the post-1978 system and that such a comparison shows that no 
ex post facto
 violation occurred. &nbsp;In their petition, they assert the following:

"Originally, when defendants prepared this case for trial and prepared their brief, they were under the impression that the [pre-1978] system applied to the inmates. &nbsp;However, after this Court issued its opinion, Department of Correction officials re-reviewed McGee's and Rickard's cases and discovered that both, at the time of their offenses, had been covered by the short-lived [intermediate] system." &nbsp;

Defendants acknowledge that we could deem this argument waived; however, they ask that we, in the interests of justice, address it. &nbsp;While a party may be bound by such a waiver, this court, having the responsibility of reaching a just decision, is not. &nbsp;
Majcher v. Laurel Motors, Inc.
, 287 Ill. App. 3d 719, 731 (1997). &nbsp;The resolution of this matter requires findings of fact and the application of various internal regulations of the Department of Corrections that were in effect in the mid-1970s. &nbsp;It is true that defendants did not address the proper regulation in their brief; however, plaintiffs committed the same error and also ignored the impact that the intermediate system has on this case. &nbsp;Accordingly, we will remand this case so that the trial court and the parties may address the factual issues raised by plaintiffs in light of the proper law. &nbsp;We express no opinion as to the merits of defendants' argument raised in their petition for rehearing.

On remand, the trial court should first determine whether the pre-1978 system or the intermediate system applied to plaintiffs. &nbsp;After making this determination, the trial court should then compare the post-1978 system
 with whichever of the earlier systems it determines applied to plaintiffs. &nbsp;If the trial court concludes that an earlier system is more favorable to plaintiffs, it should fashion an appropriate equitable remedy.

Affirmed in part and reversed in part; cause remanded with directions.

 &nbsp;&nbsp;&nbsp;&nbsp;
McLAREN
 and 
BYRNE
, JJ., concur.


